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                                #:50604


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      League, NFL Enterprises LLC, and the
15    Individual NFL Clubs
16
                                   UNITED STATES DISTRICT COURT
17
                                CENTRAL DISTRICT OF CALIFORNIA
18

19     IN RE: NATIONAL FOOTBALL                    Case No. 2:15-ml-02668−PSG (JEMx)
20
       LEAGUE’S “SUNDAY TICKET”                    DECLARATION OF BRIAN L.
       ANTITRUST LITIGATION                        STEKLOFF IN SUPPORT OF NFL
21     ______________________________              DEFENDANTS’ MOTION TO
                                                   QUASH PLAINTIFFS’ TRIAL
22                                                 SUBPOENA
       THIS DOCUMENT RELATES TO:
23                                                 Judge: Hon. Philip S. Gutierrez
       ALL ACTIONS
24
                                                   Date: May 17, 2024
                                                   Time: 10:00 a.m.
25                                                 Courtroom: First Street Courthouse
26                                                            350 West 1st Street
                                                              Courtroom 6A
27                                                            Los Angeles, CA 90012
28

      Case No. 2:15-ml-02668-PSG (SKx)            Declaration of Brian L. Stekloff in Support of NFL Defendants’
                                                  Motion to Quash Plaintiffs’ Trial Subpoena
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 1            I, Brian L. Stekloff, declare as follows:
 2            1.       I am a Partner at Wilkinson Stekloff LLP and represent the NFL
 3   Defendants in this litigation. I submit this declaration in support of the NFL
 4   Defendants’ Motion to Quash Plaintiffs’ Trial Subpoena. I have personal knowledge
 5   of the facts set forth in this declaration and, if called as a witness, could and would
 6   testify competently hereto.
 7            2.       Attached hereto as Exhibit 1 is a true and correct copy of the subpoena
 8   served on Mr. Hans Schroeder on April 9, 2024.
 9            3.       Attached hereto as Exhibit 2 is a true and correct copy of the witness list
10   Plaintiffs provided to the NFL Defendants on December 29, 2023.
11            4.       Attached hereto as Exhibit 3 is a true and correct copy of the meet-and-
12   confer email correspondence between counsel for Plaintiffs and counsel for the NFL
13   Defendants dated between January 18, 2024 and January 19, 2024.
14            5.       Attached hereto as Exhibit 4 is a true and correct copy of an internal
15   Memorandum from Brian Rolapp to the NFL Staff dated May 16, 2023 with the
16   subject “Organizational Announcement.”
17                                            *      *          *
18            I declare under penalty of perjury under the laws of the United States of
19   America that the foregoing is true and correct.
20            EXECUTED on this 19th day of April, 2024, in Chapel Hill, North Carolina.
21

22   Dated: April 19, 2024                        By: /s/ Brian L. Stekloff
23
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                                                  Beth A. Wilkinson (admitted pro hac vice)
24                                                Rakesh N. Kilaru (admitted pro hac vice)
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      Case No. 2:15-ml-02668-PSG (SKx)                   Declaration of Brian L. Stekloff in Support of NFL Defendants’
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                                           Individual NFL Clubs
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      Case No. 2:15-ml-02668-PSG (SKx) .          Declaration of Brian L. Stekloff in Support of NFL Defendants’
                                                  Motion to Quash Plaintiffs’ Trial Subpoena
